Case 1:23-cr-O0066-ZMF Document 91-2 Filed 08/05/24 Page 1of1

ATTACHMENT 2

The NCLU Account (Aug. 5, 2024 at 2:17 p.m. EDT

23 givesendgo.com/rebeccalavrenzj6

iveSendGo Discover v Q

SHINE BRIGHTLY

Rebecca Lavrenz Legal Defense Fund

“UPDATE”

Trial for the 4 Federal misdemeanor charges related to my arrest for entering our US Capitol
on January 6, 2021 is set for March 25, 2024. | am driving again to Washington DC with my
daughter, Jennifer, this time. | will be leaving on Saturday, March 16, 2024. We will be
arriving on Tuesday, March 19. My pretrial conference will be held on March 20th at 10:30
am and the trial begins on March 25, at 9:30am with jury selection. Thanks for your prayers
and support!

Read more

Available at: https://www.givesendgo.com/rebeccalavrenzj6

rane Rear a

Goal: USD $100,000 Raised: USD $67,691

Campaign created by NCLU

Campaign funds will be received by National
Constitutional Law Union

1191

Recent Donations

Show: Most Recent |

Anonymous Giver - 5 50.00 USD

20 days ago

GOD bless this Patriot and fellow believer in
the LORD and AMERICAN values. We all

